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                   United States District Court
                     District of Massachusetts
________________________________
                                  )
Bob Barr, Wayne A. Root,          )
Libertarian Party of              )
Massachusetts, and Libertarian    )
National Committee, Inc.,         )    Civil Action No.
          Plaintiffs,             )    08-11340-NMG
                                  )
          v.                      )
                                  )
William F. Galvin, as Secretary )
of the Commonwealth of            )
Massachusetts,                    )
          Defendant.              )
________________________________ )

                            MEMORANDUM & ORDER

GORTON, J.

     This action is before the Court on remand from the First

Circuit Court of Appeals.

I.   Background

     In September, 2008, this Court entered a preliminary

injunction ordering defendant William F. Galvin (“Galvin”), in

his capacity as the Secretary of the Commonwealth of

Massachusetts, to place the names of Bob Barr (“Barr”) and Wayne

A. Root (“Root”) as the Libertarian candidates for president and

vice president, respectively, on the Massachusetts ballot for the

2008 election.    In September, 2009, the Court allowed the

plaintiffs’ motion for summary judgment and entered judgment in

their favor.   The defendant appealed that determination to the



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First Circuit shortly thereafter.

     In November, 2010, the First Circuit issued a Judgment, in

which it: 1) found that a live dispute remains, 2) concluded that

the Equal Protection Clause does not require the Commonwealth of

Massachusetts to afford a substitution mechanism applicable to

non-party candidates and 3) determined that the relevant statute

is not unconstitutionally vague but does require interpretive

clarification.   The First Circuit held that the Massachusetts

courts should be afforded the opportunity, in the first instance,

to effect that interpretation, pursuant to principles of Pullman

abstention, which is warranted where 1) substantial uncertainty

exists over the meaning of the state law in question and 2)

settling the question of state law may obviate the need to

resolve a significant federal constitutional question.

     Although the First Circuit acknowledged the lack of a

pending state court proceeding, it referenced “the anticipated

state-court action” and repeatedly noted that the next

presidential election is not for another two years, providing

ample time to litigate the question in state courts.         In sum, the

First Circuit’s Order to this Court states:

     The decision of the district court on the equal protection
     claim is reversed, its decision and judgment in all other
     respects is vacated, and the matter is remanded to the
     district court with instructions to abstain on the “void
     for vagueness” claim and dismiss what remains of the action
     without prejudice.



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II.   Analysis

      The First Circuit has ordered this Court to abstain on the

“void for vagueness” claim pursuant to the Pullman abstention

doctrine.   Although an order “to abstain” would ordinarily result

in the dismissal of the case before the Court rather than

deferral to the state proceedings, here, in the context of the

Pullman doctrine, the Court finds deferral to be suitable.             See

Growe v. Emison, 507 U.S. 25, 32 & n.1 (1993) (noting that “to

bring out more clearly, however, the distinction between those

circumstances that require dismissal of a suit and those that

require postponing consideration of its merits, it would be

preferable to speak of Pullman ‘deferral’”).

      When Pullman abstention is exercised, the district court

retains jurisdiction over the federal claim but stays, rather

than dismisses, the federal suit pending determination of state-

law questions in state court.      See Harris Cnty. Comm’rs Court v.

Moore, 420 U.S. 77, 83 (1975) (citing R.R. Comm’n of Tex. v.

Pullman Co., 312 U.S. 496, 501 (1961)).        Once the state court has

ruled on the state-law question, the parties may return to the

district court for a determination of any remaining federal

constitutional questions.      See Muskegon Theatres, Inc. v. City of

Muskegon, 507 F.2d 199, 200 (6th Cir. 1974) (holding district

court had power to abstain from exercising jurisdiction but

should have retained jurisdiction pending state court


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proceedings).

     Accordingly, this Court will effect Pullman abstention by

staying the “void for vagueness” claim pending determination in a

Massachusetts court with respect to the question of the statute’s

application to non-party presidential and vice-presidential

candidates.   In the meantime, this Court retains jurisdiction

over the corresponding federal claim but dismisses all other

claims without prejudice, pursuant to the mandate of the First

Circuit Court of Appeals.

                                 ORDER

     In accordance with the foregoing, this Court hereby:

     1)   abstains on the “void for vagueness” claim, thereby

          staying that claim pending a state court interpretive

          clarification of the state statute; and

     2)   dismisses all other claims without prejudice.



So ordered.

                                  /s/ Nathaniel M. Gorton
                                 Nathaniel M. Gorton
                                 United States District Judge


Dated December 13, 2010




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